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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                               CRIMINAL NO. 5:07cr17DCB-JCS

CHARLES EDWARD PRICE

                               FINAL ORDER OF FORFEITURE

        WHEREAS, on June 3, 2008, the Court orally pronouncement forfeiture of $10,300 in

United States Currency at the sentencing of defendant, Charles Edward Price, and the Agreed

Preliminary Order of Forfeiture was incorporated in the Final Judgment, ordering defendant, Charles

Edward Price, to forfeit:

                                $10,300 in United States Currency

(the Subject Property), and

        WHEREAS, the United States caused to be published via the internet at www.forfeiture.gov

notice of this forfeiture and of the intent of the United States to dispose of the property in accordance

with the law, and further notifying all third parties of their right to petition the Court, within sixty

(60) days from the first day of publication of the Notice of Forfeiture on the government internet site,

for a hearing to adjudicate the validity of their alleged legal interest in the property; and

        WHEREAS, no timely claim has been filed; and

        WHEREAS, the Court finds that defendant, Charles Edward Price, had an interest in the

property that is subject to forfeiture pursuant to Title 18 U.S.C. § 853;

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

$10,300 in United States Currency is hereby forfeited to the United States of America pursuant to

Title 18 U.S.C. § 853.
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       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title and interest

to the property described above is hereby condemned, forfeited and vested in the United States of

America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.

       SO ORDERED AND ADJUDGED this the 21st day of April, 2010.



                                                       s/David Bramlette
                                                       UNITED STATES DISTRICT JUDGE
